                      Case 1:23-mj-00326-MAU Document 1 Filed 11/28/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                  Ryan Joseph Orlando
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                             Offense Description
        18 U.S.C. § 641- Theft of Government Property;
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority;
        18 U.S.C. § 1752(a)(2) - (Disorderly and Disruptive Conduct in a Restricted Building or Grounds);
        40 U.S.C. § 5104(e)(2)(A) - (Enter or remain on the floor of a House of Congress without authorization)
        40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct in a Capitol Building);
        40 U.S.C. § 5104(e)(2)(G) - (Parading, Demonstrating, or Picketing in a Capitol Building).
         . This criminal complaint is based on these facts:

  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                               Complainant’s signature


                                                                                                Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             11/28/2023
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Honorable Moxila A. Upadhyaya,
                                                                                        United States Magistrate Judge
